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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                  SAN ANTONIO DIVISION

 LOGAN PAUL,

                               Plaintiff,
        v.
                                                         Civil Action No. 5:24-CV-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                               Defendants.



   PLAINTIFF’S UNOPPOSSED MOTION TO WITHDRAW SHELBY O’BRIEN AS
                             COUNSEL

       Pursuant to Local Rule AT-3, Plaintiff Logan Paul files this Unopposed Motion to

Withdraw Shelby O’Brien as Counsel in this matter.

       Plaintiff Logan Paul requests that Shelby O’Brien, local attorney of record for Plaintiff, be

permitted to withdraw as counsel for Plaintiff. Plaintiff has retained new local counsel in this

matter, Ricardo G. Cedillo. Mr. Cedillo has filed a Notice of Appearance of Additional Counsel in

this matter. (Dkt. No. 25.) Mr. Cedillo’s name and address is:

                      Ricardo G. Cecillo
                      DAVIS, CEDILLO & MENDOZE, INC.
                      755 E. Mulberry Avenue, Suite 250
                      San Antonio, TX 78202
                      rcedillo@lawdcm.com
                      210.822.6666 (Phone)
                      210.660.3795 (Fax)

       This withdrawal will not delay any proceedings. This motion is unopposed.




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       For the reasons stated above, Plaintiff Logan Paul respectfully requests that the Court grant

this motion to withdraw Shelby O’Brien as a counsel of record and remove Ms. O’Brien from all

further electronic notifications regarding this case.

                                                 Respectfully submitted,

                                                 /s/ Shelby O’Brien
                                                 Shelby O’Brien
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                                                 Austin, TX 78701
                                                 (512) 615-1225
                                                 Shelby.Obrien@butlersnow.com

                                                 Ricardo G. Cedillo
                                                 Texas State Bar No. 04043600
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                                                 Counsel for Plaintiff Logan Paul




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                           CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(G), I hereby certify that on January 22, 2025, I conferred
with all counsel by email, and none were opposed to this motion.

                                                  /s/ Shelby O’Brien
                                                  Shelby O’Brien




                               CERTIFICATE OF SERVICE

       I hereby certify that, on January 22, 2025, a true and correct copy of the above and
foregoing has been served by electronic filing on all counsel of record.

                                                  /s/ Shelby O’Brien
                                                  Shelby O’Brien




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